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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :       Case No.: 22-CR-00010 (RJL)
                                               :
       v.                                      :       18 U.S.C. § 231(a)(3)
                                               :
AVERY MACCRACKEN,                              :
                                               :
       Defendant.                              :
                                               :

                    JOINT MOTION TO CONTINUE PLEA CONFERENCE

       For the reasons stated below, and without objection from the government, as counsel for

Mr. MacCracken, I write to request a continuance of the July 11, 2023, plea conference.

       I have been engaged at trial in the case of United States v. Nizar Trabelsi, 06 Cr. 89

(RDM). Trial started on May 8, 2023, and has continued to July 11, 2023. Summations are today

and I do apologize for the inconvenience caused to the Court, the government and others. I ask

the Court to set a plea date for a date 45 days out – as Mr. MacCracken lives in Colorado and

needs the time to finance the trip from Colorado to the District of Columbia.

       Time is properly excluded under the Speedy Trial Act because the parties continue to

engage in plea discussions. Excluding time will best serve the ends of justice and outweigh the

best interests of the parties in a speedy trial, because it will allow the matter to be resolved by

plea. See, 18, United States Code, section 3161(h)(1)(D) and 3161 (h)(7)(A).
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                              Respectfully submitted,

                              A. J. Kramer
                              Federal Public Defender for the District of Columbia

                              /s/Michelle Peterson, Chief, AFPD
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Dated: July 11, 2023
